 1

 2

 3

 4

 5

 6

 7

 8

 9
                           IN THE UNITED STATES BANKRUPTCY COURT FOR
10                     THE WESTERN DISTRICT OF WASHINGTON AT TACOMA

11

12    In re:                                     Case No.: 18-43461-MJH
                                                 PROPOSED
13
      NORA JANE CALDWELL,                        ORDER APPROVING COMPROMISE AND
14
                                                 AUTHORIZING DISBURSEMENT

15                                     Debtor.

16
               THIS MATTER having come on before the above entitled Court upon the Trustee’s
17
     Motion to Approve Compromise and Authorize Disbursement, the Court having reviewed the
18
     motion and having reviewed the records herein, deeming itself fully advised in the premises, it is
19

20
     now, therefore,

21   //

22   //

23   //
24

25
                                                                                    Michael G. Malaier
                                                                            Chapter 13 Standing Trustee
     ORDER APPROVING COMPROMISE AND                                              2122 Commerce Street
     AUTHORIZING DISBURSEMENT - 1                                                  Tacoma, WA 98402
                                                                                        (253) 572-6600
            ORDERED that the settlement agreement attached hereto as exhibit A, and hereby
 1
     incorporated by reference, is approved. Trustee is authorized to disburse the Settlement Payment
 2

 3
     upon receipt to unsecured creditors.

 4                                            //End of Order//

 5   Presented by:                                       Approved by:

 6

 7
     Matthew J.P. Johnson, WSBA #40476                   Manish Borde, WSBA #39503
 8
     Attorney for                                        Attorney for Defendant
 9
     Michael G. Malaier, Chapter 13 Trustee

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25
                                                                                  Michael G. Malaier
                                                                          Chapter 13 Standing Trustee
     ORDER APPROVING COMPROMISE AND                                            2122 Commerce Street
     AUTHORIZING DISBURSEMENT - 2                                                Tacoma, WA 98402
                                                                                      (253) 572-6600
